Case 1:21-cv-09012-DLC Document 41-20 Filed 10/24/22 Page 1 of 5




               EXHIBIT 20
Case 1:21-cv-09012-DLC Document 41-20 Filed 10/24/22 Page 2 of 5

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 Man Held at Rikers Dies From Razor Wound
 After Guards Fail to Intervene

 A captain and two correction officers were suspended last week after
 failing to help a man for 10 minutes after he slit his throat. He was
 taken off life support on Tuesday.

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 The Rikers Island jail complex. Credit... Uli Seit for The New York Times


 Aug. 30, 2022
 Two correction officers and a captain failed to act for at least 10
 minutes when a mentally ill man slit his throat with a razor at the
 Rikers Island jail complex last week, with the guards looking on as the
 man bled, according to five people with knowledge of the matter.

 The man, Michael Nieves, 40, was taken to Elmhurst Hospital where
 he had been brain-dead and on life support since Friday, according to
 one official. He was taken off life support on Tuesday and pronounced
 dead at 9:47 p.m., the official said. The two correction officers and the
Case 1:21-cv-09012-DLC Document 41-20 Filed 10/24/22 Page 3 of 5
 captain have been suspended pending the outcome of a department
 investigation.

 The episode was captured on video and it showed Mr. Nieves
 bleeding out onto the floor of his cell, said the people, who spoke on
 the condition of anonymity because they were not authorized to
 discuss the matter publicly.

 Mr. Nieves is the third person suspected of dying by suicide and the
 13th person to die this year after being held on Rikers Island.

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 “The health and safety of those in our custody is paramount and an
 immediate review of this incident required we take immediate action
 and suspend three uniform staff members involved,” Louis A. Molina,
 the commissioner of the New York City Department of Correction,
 said in a statement on Tuesday evening. “We are conducting a full
 investigation into this and will continue to work tirelessly to bring
 safety to our city’s jails.”


 The Crisis at Rikers Island

 Amid the pandemic and a staffing emergency, New York
 City’s main jail complex has been embroiled in a continuing
 crisis.

    2022 Deaths: Sixteen people died in the city’s jail system last year,
    the most since 2013. Deaths this year are on pace to be even
    higher.
    Gaming the Numbers: Louis Molina, New York City’s jail
    commissioner, pushed for a dying man’s release from Rikers in an
    apparent bid to limit the prison’s death count.
    Inside Rikers: Videos obtained by The Times reveal scenes of
    violence and offer vivid glimpses of the lawlessness that has taken
    hold.
Case 1:21-cv-09012-DLC Document 41-20 Filed 10/24/22 Page 4 of 5
    Decades of Dysfunction: For years, city officials have presided over
    shortcuts and blunders that have led to chaos at the jail complex.

 The death toll at the jail complex has continued to grow even as the
 city has implemented a series of reforms in an effort to ward off the
 threat of a federal court takeover. The judge overseeing the reforms
 has scheduled a status conference for November at which she will
 evaluate the city’s progress.

 But signs of violence and dysfunction persist. Stabbings and
 slashings remain high. Overdoses have skyrocketed behind bars,
 causing the deaths of at least five people this year. A large number of
 officers are still not showing up or are unavailable to work.

 Unlike most of the deaths this year, Mr. Nieves’s grave injury was not
 the result of insufficient staffing. Mr. Nieves, who has been described
 by officials as seriously mentally ill, was most recently held in the
 Program to Accelerate Clinical Effectiveness, also known as the PACE
 units — Rikers Island’s most heavily staffed intensive-care psychiatric
 housing areas.

 Fifty-three percent of the people on Rikers Island have a mental health
 diagnosis, including 17 percent who, like Mr. Nieves, are seriously
 mentally ill. The officers assigned to work in these units are specially
 trained to recognize signs of distress in mentally ill detainees.

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 Mr. Nieves had been in custody since April 2019 on charges of
 burglary, arson and other offenses for an incident in Upper Manhattan,
 records show. Since his arrest, Mr. Nieves was twice found unfit for
 trial and sent to a state psychiatric facility, once for seven months and
 then again this year from March to June, according to prosecutors.

 Justice Laura A. Ward of the State Supreme Court in Manhattan had
 ordered another exam to determine whether Mr. Nieves was fit to
 stand trial. He was due back in court on Sept. 6, court records show.
Case 1:21-cv-09012-DLC Document 41-20 Filed 10/24/22 Page 5 of 5
 Mr. Nieves’s suicidal tendencies were evident. In a lawsuit filed in
 2019, he said that doctors had found he had bipolar and
 schizophrenia disorders, and accused law enforcement of false
 imprisonment, and medical professionals of false diagnosis. He spent
 12 days at Bellevue Hospital in February 2019 after a suicide attempt
 in which he burned himself in the bathroom of an office building.

 On Aug. 25 while at the jail, Mr. Nieves checked out a razor, two
 people said, and upon returning him to his cell, officers did not frisk
 him, and had not checked to ensure the razor was returned.

 At 11:30 a.m., Mr. Nieves ran the razor across his neck, causing a six-
 inch-long laceration, according to four of the people with knowledge,
 and jail records.

 The two officers and their captain watched for at least 10 minutes as
 Mr. Nieves bled out. Medical staff arrived and Mr. Nieves was taken to
 the hospital. The next day, officials said, he was declared brain-dead.

 William K. Rashbaum contributed reporting.

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